Case 2:05-cr-20119-.]PI\/| Document 17 Filed 08/29/05 Page 1 of 2 Page|D 22

 

IN THE UNITED sTATEs I)ISTRICT coURT mm av_______ _ __M_
FoR THE WESTERN msch oF TENNESSEE "
WESTERN DrvlsloN 05 AUG 29 AH 6= ha
UNITED sTATEs oF AMERICA mm .1\,;
fleq U.S. DBTR§CT OOURT
v. cR. No.05_20119 W/D 05 TN. MENPHS
judge McCalla
cHRIsToPHER AGEE,

Defendant

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

 

As indicated by the signatures below, the United States, through Stuart Canale, _Assistant
United States Attorney, and Kemper B. Durand, counsel for the defendant have agreed that, for
good cause, this case should be continued for reasons resulting in the exclusion of time under the

Speedy Trial Act. The case is currently set on the September, 2005, criminal rotation calenda.t, but is
wed. dev 33
nowr RESET for report at 9:00 a.m. on w @Bteber , 2005, With trial to take place on the

Nwemher, 2005, rotation calendar With the time excluded under the Speedy 'I`rial Act through
l\M:l-G`j()()& Agreed in open court at report date this 26th day of August, 2005.
SO ORDERED this 26':h day of August, 2005.

/Q@ m(QQQ,

j N PHIPPS MCCALLA
UNIT STATES DISTRICT ]UDGE

4 /

Stuart Canale, Assistant U. S. Attorney K per B. Durand
Attorney for Christophet _Agee

Th!s document entered on the dockets eat \'n mm lman
with Flu|e 55 ami/or 32(b) FHCrP on

 

     

 

UNITED sTATE DISTRIC COURT - WETERN D's'TRCT oFTENNEssEE

 
 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 17 in
case 2:05-CR-201 19 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Stuart .l. Canale

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Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & l\/HTCHELL
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Ste. 2900

l\/lemphis7 TN 38103--552

Honorable .l on l\/lcCalla
US DISTRICT COURT

